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                              IN THE UNITED        STATES         DISTRICT          COURT

                              FOR THE      SOUTHERN DISTRICT OF                GEORGIA

                                            AUGUSTA DIVISION


UNITED STATES OF AMERICA,                                *
                                                         *



                v.                                       *                     CR    111-270



ABDUL    JABBAR MACK.                                    *




                                                  ORDER




        Defendant has          filed a      second motion             for reduction of            sentence under


18   U.S.C.     §     3582(c)(2)      on    the    basis         that      Amendment        782    to   the   United

States    Sentencing Guidelines                has       revised the            guidelines           applicable      to

drug trafficking offenses.                  Even though Amendment 782 became effective on

November      1,      2014,    no    defendant       may         be    released       on    the      basis    of    the

retroactive amendment before November 1,                              2 015.      See U.S.S.G.          Amend.     788.

Thus,     the        Court    will     undertake             a   review        of     cases       involving        drug

trafficking          offenses       in due     course.                If Defendant          is entitled            to a

sentence      reduction         as    a    result        of      amendments          to     the    United     States

Sentencing Guidelines, the Court will make such a reduction sua sponte.

Accordingly, Defendant's motion (doc. no. 334) is again DEFERRED.1
        ORDER ENTERED at Augusta, Georgia, this                                /^ffiday of August, 2015.




                                                  HONORABLE           J.   RANDAL HALL
                                                  UNITED STATES             DISTRICT JUDGE
                                                  SOUTHERN DISTRICT OF GEORGIA




1       The   Court     DIRECTS      the   Clerk    to       TERMINATE      the      motion    for    administrative
purposes.
